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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 RONALD D. SORTLAND, et al.,

        Plaintiff,
                                                                  Hon. Robert J. Jonker
 v.
                                                                  Case No. 1:19-cv-644
 UNKNOWN COLOMBEL-SINGH, et al.,

        Defendants.
 ________________________________/

                      ORDER TO PROCEED IN FORMA PAUPERIS

       IT IS ORDERED that Plaintiff, Ronald D. Sortland, may commence this action

without prepayment of fees or costs or security therefor. Any pleadings herein served by

the United States Marshal shall be at the expense of the United States government. All

costs shall be reimbursed to the United States government should the Plaintiff prevail.

       IT IS FURTHER ORDERED that Plaintiff shall serve upon Defendants or, if

appearance has been entered by an attorney, upon the attorney, a copy of every further

pleading or other document submitted for consideration by the Court. The Plaintiff shall

include with the original paper to be filed with the Clerk of the Court a certificate stating

the date a true and correct copy of any document was mailed to Defendants or the

attorney(s). Any paper received by a District Judge or Magistrate Judge which has not

been filed with the Clerk or which fails to include a certificate of service will be disregarded

by the Court.

Date: August 14, 2019                                          /s/ Ray Kent
clw                                                        RAY KENT
                                                           U.S. Magistrate Judge
